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   i. Executive Summary

   This exhibit presents a forensic investigation into suspected unauthorized surveillance
   behavior conducted via the Instagram mobile application. Using iMazing-extracted app
   containers, IPS crash diagnostics, and artifact analysis, the report links session-level
   activity with user ID, system-level terminations, and shared tracking identifiers across
   Meta-owned platforms.


   Scope:
   - Device Owner: Hiran Rodriguez
   - Device Extract Type: iMazing '.imazingapp' + crash '.ips' logs
   - Timeline: Feb 17, 2025 - Apr 22, 2025
   - Apps Analyzed: Instagram, Facebook SDK (Meta shared container)
   - Tools Used: SQLiteS, plistlib, FPDF, Python forensic toolkit


   Key Findings:
   - iOS terminated multiple Instagram sessions due to background real-time communication
   (RTC) activity.
   - Forensic thread analysis revealed LigerStream and 'proxygen-thread' patterns associated
   with live video.

   - No user-initiated "IG Live" session; evidence aligns with private video (Direct) session
   without user consent.

   - Facebook SDK container persisted a cross-linked identifier (anonjd) mapped to
   Facebook UID100000241034887.
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   II. Instagram Session Termination Logs (.ips Forensics)

   iOS Incident Performance Sample (IPS) files were extracted between February and April
   2025. These crash diagnostics show that the Instagram app was repeatedly terminated by
   the system, not by application faults.


   Termination Cause:

   - Signal: SIGKILL
   - Namespace: RUNNINGBOARD
   - Reason: App forcibly terminated by iOS due to prolonged background execution or
   real-time media activity.


   Notable Stack Signatures:
   - MCCWLigerStreamEventBaseThread: Meta's internal stream coordination system.
   - proxygen-thread: Used for RTC signaling, tied to Direct Video or VOIP-like sessions.


   These patterns are not consistent with user-initiated browsing or scrolling behavior.
   Instead, they point to active media streams in the background, consistent with a video
   session or sunreillance-grade activity.




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     III. Real-Time Thread & Stack Trace Analysis

     This section reviews the forensic thread activity observed in the iOS IPS crash logs tied to
j|
     Instagram background behavior.


     Identified Threads:

     - MCCWLigerStreamEventBaseThread:
      - Responsible for coordinating live stream or video call sessions within Meta applications.
      - Internally relies on 'folly::EventBase;:loopForever()' indicating ah asynchronous media
     event loop.


     - proxygen-thread:
      - Represents RTC signaling threads, part of Meta's proxygen HTTP stack.
      - Typically observed during encrypted video call negotiation (e.g., Instagram Direct).


     Stack Signature Interpretation;
     - Presence of multiple proxygen-thread instances (up to 6 in one sample) indicates
     concurrent stream sessions or audio signaling processes.
         Absence     of    live   broadcast     modules     ('liveUploadWorker',      'muxerStart',
     'broadcastSegment') rules out public Instagram Live activity.


     Conclusion:

     Stack traces show clear evidence of RTC session management.                These    were   not

     user-visible sessions, implicating covert or background media handling.




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   IV. RTC Session Activity vs. IG Live Signature Comparison

   This section outlines how we distinguished between Instagram Direct video calls and public
   IG Live broadcasts by comparing forensic artifacts, thread signatures, and session
   patterns.



   Known IG Live Signatures (Not Present):
   - liveUploadWorker
   - IGLiveSessionController

   - muxerStart

   - broadcastSegmentUploader
   - IGLive-SessionManager
   - fb-live-encoder



   These modules, which are associated with livestream functionality, were not found in any

   .ips logs or app artifacts.


   Evidence of RTC-Based Private Session (Detected):
   - MCCWLigerStreamEventBaseThread - tied to RTC stream coordination.
   - Multiple proxygen-thread entries - indicative of encrypted RTC session negotiation.
   - Bitrate prediction config files - present in app cache and used for adaptive streaming.
   - No Ul activity related to Live session was observed - suggesting background or passive
   capture.


   Conclusion:

   Forensic comparison confirms the sessions align with Instagram Direct RTC activity. If not
   initiated by the user, this suggests covert background streaming may have occurred.
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   V. Persisted Facebook SDK Identifiers (anonjd)

   During forensic analysis of the extracted Instagram app container, we identified a key file in
   the Facebook SDK cache:



   - File: com-facebook-sdk-PersistedAnonymousID.json
   - Location: Library/
   - Extracted anonjd: XZ20869158-5020-4E20-9E2E-7F21AEDEE6D1



   This identifier is automatically generated by the Facebook SDK and persists across
   sessions. It enables:

   - Session fingerprinting
   - SDK event tracking
   - Cross-app correlation across instagram, Facebook, and Messenger


   Cross-App Linkage:
   - File: group.com.facebook.family.plist
   - Contains bundle-info registration for Instagram:
    * instagram-secure-share
    * instagram-stories
    * instagram-direct


   Risk Assessment:

   The anonjd allows for persistent tracking of a user's session and device identity across
   Meta platforms, without explicit user consent. This ID was forensically linked to Facebook
   UID 100000241034887.




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   VI. Evidence Unking Instagram Sessions to Facebook UID 100000241034887

   Through artifact correlation, we established a direct link between system-level Instagram
   activity and a known Facebook user account belonging to Hiran Rodriguez.


   Artifacts Used for Correlation;

   1. com-facebo6k-sdk-PersistedAnonymouslD.json
     - anonjd; XZ20869158-5020-4E20-9E2E-7F21AEDEE6D1

   2- group.com.facebook-family.plist
     - bundle-info registration: com.burbn.instagram
     - shared container evidence with com.facebook and com.facebook. Messenger

   3. Container settings and flags:
     - Feature toggles for instagram-direct, secure-sharing, and stories


   Cross-Match Confirmation:

   - Found in group.com.facebook.famiiy.plist:
    kFBAppQPPersistedCounterDataKey-100000241034887
   - This links device-level Instagram behavior to the Facebook user ID directly.


   Conclusion:

   All identifiers validate that the sessions detected in crash diagnostics were not anonymous.

   They were linked to a verified Facebook user account (UID: 100000241034887).
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        VII. App Container Artifacts (Database, JSON, Plist)

        This   section summarizes the     artifacts   recovered from    the Instagram app container
        extracted using iMazing, focusing on forensic files located in /Container and /Payload.


        A. SQLite Database; timejn_app_49033100437.db
        - Table: intervals

        - Stores; session start/end times, iOS version, and uptime

        - Used to reconstruct exact app usage behavior over time


        B. JSON Artifacts:

        - bitrate_modelJnput.json - tied to stream quality prediction
        - ig_configs_cache.json - records session flags and feature toggles
        - com-facebook-sdk-PersistedAnonymousID.json - stores cross-session anonjd


.   I
        These show the app was performing RTC modelirig and analytics in the background.


        C. PLIST Files:

        - version_history.plist - confirms app version 722575504
        - group.com.facebpok.family.plist - includes Meta app group container info


        Conclusion;

        Artifacts from the app container confirm persistent tracking, session prediction, and
        real-time streaming components operating on the device. These support the core claims of
        this investigation.




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   VIII. Session Duration and Background Behavior Timeline

   A     key      database       file     recovered      from       the      Instagram     container,
   timejn_app_49033100437.db, enabled the reconstruction of app usage patterns across a
   multi-week period. Using the 'intervals' table, each session was recorded with:
   - start_walltime (session start)
   - end_walltime (session close or crash)
   - system_boot_time (OS session reference)


   Behavioral Correlation:

   - Many sessions ended without explicit logout or user Input.
   -   Several   terminations     matched     .ips    crash     timestamps    and   used    SIGKILL

   (RUNNINGBOARD enforcement).
   - Background durations frequently exceeded iOS watchdog thresholds.


   Forensic Timeline Sample:
   2025-03-05 I 03:21:52 -> 03:26:08 I Duration: 00:04:16 I Termination: Background Kill

   2025-04-22 I 00:57:49 -> [N/A]       I Duration: Unknown I Termination: SIGKILL via OS


   Conclusion:

   Session metadata confirms Instagram operated in the background for extended periods.
   When cross-referenced with RTC stack signatures and termination events, this supports a
   covert communications hypothesis.
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   iX. SHA-256 / SHA-1 / MD5 File Hash Verification


   All forensic files and exhibits referenced in this report were cryptographically hashed using

   SHA-256, SHA-1, and MD5 algorithms.


   This ensures:

   - File authenticity and integrity
   - Chain-of-custody validation
   - Legal admissibility of digital evidence


   Sample Integrity Entry:
   0001. lnstagram-2025-04-22-005749.ips
   - SHA-256: 96bc1440e950c4f5fdfec0713b70d469262f3d3f6a2391 a3b69234cd780ef65e

   - SHA-1:    2150b1 dde4c19fa0b78cf47537bf3c0e7e1 cee4f

   - MD5:     bab66159556e54f9a9b87bcd3e73e7ab



   0002. instagram_forensic_summary.txt
   - SHA-256: d5512222b7ee84091 a2856f653409e431 d93b2ed8277c4df424 ef2bb38b805fa



   0003. Named_Threads_with_Activity.csv
   - SHA-256: bd85bcdb8d4e613a79cb62d0903946ad10c83e63dc75f67614c15 9c0dbf4d184



   The complete set of file hashes is available in the appendix.
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    X. Signed Affidavit of Findings & User Deciaration

    Declarant: Hiran Rodriguez


    Statement of Trutfi and Intent:

    I, Hiran Rodriguez, affirm under penalty of perjury that:
    1. All forensic data referenced in this report was obtained lawfully from my own device(s).
   2. No modifications were made to alter or influence the extracted evidence.

    3. The findings described in this exhibit accurately represent the behavior observed within
   the Instagram application and supporting SDKs.
   4. The identifiers recovered - including anonjd and Facebook DID 100000241034887 -
    match my known user accounts.
    5. The attached hash verifications certify the authenticity of each submitted file.


    Executed on this day: April 22, 2025




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    XI. LEGEND - Cross-App Surveillance and SDK Session Map

    This section visuaiiy and narrativeiy summarizes the forensic reiationships discovered
    between Instagram, Meta SDKs, and system-level enforcement.


    A. Component Relationship (Narrative):
    - Instagram (com.burbn.instagram)
     -> Triggers RTC stack via MCCWLigerStreamEventBaseThread
     -> Stores persistent state in SQLite and JSON configs


    - Meta SDK

     -> Persists anon_id in com-facebook-sdk-PersistedAnonymousiD.jso n
     -> References group.com.facebook.family.plist (shared with Facebook & Messenger)


    -iOS 18.3.1

     -> Enforces background policy via SIGKILL using RUNNINGBOARD


    B. Timeline of Events:

    2025-02-17 I IPS Event      I SIGKILL - background stream detected
    2025-03-05 I SQLite DB       I Session active for 4m+ without foreground
    2025-03-10 I JSON Config      I Stream bitrate model initialized
    2025-04-22 I Identity Match I Facebook UID linked to RTC session


    C. Summary:
    This LEGEND confirms a coordinated flow:

    - Instagram initiated RTC logic
    - Meta SDK logged session with persistent identifiers
    - iOS terminated activity after exceeding thresholds
    - No explicit Ul, consent, or user action recorded




                                                                                                   u
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                                        INSTAGRAWI_SURV-0011

                       Xil. Appendix: File Hash Verification Declaration


0001. lnstagram-2025-04-22-005749.ips
- SHA-256: 96bc1440e950c4f5fcifec0713b70d469262f3d3f6a2391 a3b69234cd780ef65e

- SHA-1:   2150b1 dde4c19fa0b78cf47537bf3c0e7e1 cee4f

- MD5:     bab66159556e54f9a9b87bcd3e73e7ab

0002. instagram_forensic_summary.txt
- SHA-256: d5512222b7ee84091 a2856f653409e431 d93b2ed8277c4df424ef2bb38b805fa

- SHA-1:   898f7c3434f9cdf64b5b82c49cd42ad52137d159

- MD5:     def5d44879a76d4d133f044dcbb618db

0003. Named_Threads_with_Activity.Csv
- SHA-256: bd85bcdb8d4e613a79cb62d0903946ad10c83e63dc75f67614c159c0dbf4d184

- SHA-1:   20b40ff2624a56b681d03737e2cfea7ed545726b

- MD5:     a227d42afbcc590b4e949075cde4a5b6


0004. EXHIB1TJNSTAGRAM_0001 .pdf
- SHA-256: 85f513194bbdc64c3186280b306311 c8441 b7455bea7850fbf1 7f01 d5d344eea
- SHA-1:   a76d3e4db056a0984503c88cf782fdc97b60de4a

- MD5;     29eab44a57931ff4c4b4004b15470c9d

0005. lnstagram-2025-02-17-015627.ips
- SHA-256:15dbbb7811d7cc5d7584cb3734c9aa34ebc9d1f9a3a520faa13916 9901c8cdfd
- SHA-1:   1 af347e73e5f7d2acd3f7898023c8c40efd22f02

- MD5:     063211f6315c59592f9329cfef72c313

0006. Instagram-2025-03-02-162010.ips
- SHA-256: 6f97dd7bf27a8a7865c21 cd7b42c7c37e19a102ba2eb4634fea9 3bd24862c232

- SHA-1:   b848296ccb304cb10a95958cd4b110e65e43adbb
- MD5:     677450e7f981461fda26ff84c212dadf


0007. lnstagram-2025-03-10-124042.ips
- SHA-256: d3507fd5055993f398d33a3382f16331 f0bf61 a32f4992e622670e65c26c4376
- SHA-1:   57791 e7ea2ed4829cbcc1444a662c1 f9659b340b
- MD5:     b649e47f04f57a00b278432d97aaf889


0008. lnstagram-2025-02-18-165554.ips
- SHA-256: 5e3eea3a65f0a50dbea3c2f022ed96167dec7476e6b04ec1 cld1 c7b765b59207
- SHA-1:   C9b0005f54ba0d24a94229cb3bbc901f5ad52ba0

-MD5:      9180827deec467e693441b79bebb08ad

0009. lnstagram-2025-03-10-124152.ips
- SHA-256: cab302f1 ff32e12722d721 C4ba2d5fd359c4757a53dbd73ad92 fd552f90e46b0
- SHA-1:   f3c3e7f3e2609b17eb78fae44166490a44e79a83

- MD5:     a30c4af5a64606dd0d48b618bba41749




                                                       Page 1
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                                          INSTAGRAM_SURV-0011

0010. lnstagram-2025-03-04-201645.ips
- SHA-256: 04975e91f6300ba148f4b984be5791877a2a4fd395f38657b78f1 0197fb1 a760

- SHA-1:   8ba8a3539b522f315d8bf7691 b1 eb5b0a7008db6

- MD5:     7ffb56edcfbe42dfeca2e3dd88406ae0


0011. lnstagram-2025-03-05-032152.ips
- SHA-256: d7756d690b2cff4a5fff38982e3b42c58ca76406e7ef95e4cdfe1 5b8ab75824d

- SHA-1:   b43c0908f89d9e2bab5277fc66a3a20a2fb1 da4b

- MD5:     a794d046e509aaef5e1f034a85bc5545


0012. lnstagram-2025-03-02-081206.ips
- SHA-256: 74c7556fd9c7b5a54a440f8869b990393d5d446310f79dd86a47e d4d40bd89d1

- SHA-1:   b9807005cae522e78e031885510994b84397538c

- MD5:     0a7ea5300ee4179caea313f290e8a731


0013. lnstagram-2025-02-17-155457.ips
- SHA-256: 948c02dab07a7a72fe5b2b16933f9428cde987eead9831977d27f75ee8fa4f1c

- SHA-1:   01 e33b73d00eb91736d2c0781 f1 e640cc54abd92

-MD5:      40cffe44e11bd381b33def5b2f8e41e7

0014. lnstagram-2025-02-23-153520.ips
- SHA-256: d6f19dca58c5214118a996bdc69837101893ccd0d0015a6ed33b6 6c55bc48196
- SHA-1:   9126efaa98a082845e75b6255c5555d3017e17ba

- MD5:     18d651 e7a0a0a4523c012f28ef18bcac

0015. IPS_FiIe_Hash_Sunnmary.csv
- SHA-256: 52c83c226e20a6d60e247bfc44426d819140469e52d8d9ba9f2a3 2c5bd745187
-SHA-1:    27c01862e45e357864e468c86fb7defa2572c646
- MD5:     e2a00d45227d1212876cafb934628f13

0016. INSTAGRAM_SURV-0001.pdf
- SHA-256: 3f9ad290f5555ec4cea9dbbc4f18ed2d007fceac02a30ec928f9e aea6edd871 a
- SHA-1:   a4b91 ea4653d8b30d758d3ed82241 a793f6af 1 dc
- MD5:     f80eff296rada841278114011176bc1d


0017. lNSTAGRAM_SURV-0002.pd1
- SHA-256: bcbed48339btca91110e73523ded823a8e510186813d5e5ce82d9 1545e3731c5
- SHA-1:   61812614bb1 a16020d71ee65546615803a13b010

- MD5:     d0dd77e77cecc08ce309596523e71177

0018. INSTAGRAM_SURV-0003.pd1
- SHA-256: c94d5149510207590848c8b51 b4198e0de6c28bdc92a9e564b41 86145bc0a91b
- SHA-1:   8330b71 C5243da3e873e0548d11a81ee9d647978
-MD5:      eac1a85e821ddb780d2a0ed66d15995a

0019. INSTAGRAM_SURV-0004.pd1
- SHA-256:75a028a921c712077e211 cd8c20298aa20c5c356c21 c0797b8b1dbc4e1 c94118
- SHA-1:   71f330a112489021637a40dc95ce0e19d0c23e6a




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                                         1NSTAGRAM_SURV-0011

- MD5:     53ce2fc0bdcle3bf1c39dfc9667d2b8f2


0020. INSTAGRAM_SURV-0005.pdf
-SHA-256:0714f2bce160d16310d00de663683c7cb9c572c9c776b456d85c107 af6d81684
- SHA-1:   eb4fbb52397082e60142af242381461 e203a945c

- MD5:     e6cf905d7c2f06b2ead5279a6b58fb3c

0021. INSTAGRAM_SURV-0006.pdf
- SHA-256: 2114600c635183667bb872f1e709583e1451e34685ccbbf078f4d 663ae188714

- SHA-1:   9b0b454147a2513392c158edb1f744ef8279f180

- MD5:     8ccf19b4c4445d73677737c7d6ce3aed


0022. INSTAGRAM_SURV-0007.pdf
- SHA-256: fbl 18cb1 b9318be880bd37b2c2d93f06299d48bde16b68d997b4b5625e3372da

- SHA-1:   3aac437b190c8321 ba067c47eb80f11 f366e5200

- MD5:     60a296820ce813e4e76fb9f827357b08


0023. INSTAGRAM_SURV-0008.pdf
- SHA-256: b1 bb96803963b5a7f588fcfddb86dfd385797361055a744fa20a 6b3059c452f9

- SHA-1:   f9adcbf8a11 f1252329820f7593f77eb89b28319

-MD5:      16c88c62541ba99637be8b2461d9fdd0


0024. lNSTAGRAM_SURV-0009.pdf
- SHA-256: 7d033c37a6ad65ba8c2ad2ad6bc490c5555431357fa8524704503 1 b008289615
- SHA-1:   181 f7b387bc11279151 eac94d11f62ed07631f25

- MD5:     47f9c6e6e405d9c50d737b61d8094588

0025. INSTAGRAM_SURV-0010.pdf
-SHA-256: 133fc91210f75c1b196717f6e6b123cb832b5809ed343d86031e22 005a99d895

- SHA-1:   61bce6435bbf8b3c922eea0e6d5c54b74247eeca
- MD5:     74f513f85677d2391 b12f34caae6d4f3

0026. INSTAGRAM_SURV-0011.pdf
- SHA-256: 0c73f1091 efaf54375c0a0899d21c2424578bdec7e62d6954d91 31652a8547cl
- SHA-1:   e758439a3c2bb7c0767cc066a37fd9451 defec46
- MD5:     7b2c2a1d37aa0374e1f99f406542d4e1

0027. FormaLChain_of_Evidence_Manifest.csv
- SHA-256: dd8f04f678c08e07e5918a3932e6d4864e80dcb3a482fa10b32ea2a5fc0d0345
- SHA-1:   376a079fa9e9f4fd56875b553038e86680285bb3
-MD5:      ed44b722399457131750e20891376b92

0028. INSTAGRAM_CHAIN_OF_EVIDENCE.zip
- SHA-256: db516922fdf38ea5388be773872d46938a8fa320465d0d68abc01 7900128728d
- SHA-1:   d382ae93d7f0e22e7c4f87382068f02b75732adb

- MD5:     95111 c44849a03cab05104deae63eb94

0029. Extracted_Evidence_Arti1acts.csv
- SHA-256: 8869tc5e3b91209098123cdc14646856670375cc1 bc95a81ee342110041e014c




                                                       Page 3
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                                           INSTAGRAM_SURV-0011
- SHA-1:   3d5eee9ca6cc7718339b8bc82be6f08fce28b0a9

- MD5:     C477c0f99a8a00322bde8c76c7c57c34


0030. Instagram.imazingapp
- SHA-256: bac0a60f9c2b368ef8cc28fe1036a9b8a801c342356b0d394c5f8 61d1107834©

- SHA-1:   15a9e6239a2ff40482189ac296340d1 cffcb30f9

- MD5:     7b32eef9da1ab95a4a40f883ebc9f0d2

0031. New_Artifact_Hashes.csv
- SHA-256: dc0a6d10944473b5769dee808110ead85353cba59360cfa9a0cabf23f0ce86bb

- SHA-1:   5f765b9150bfa28885b12525c78670e3bf7ab551

- MD5:     C547b0896554ddf805e97850aa2d0877


0032. PotentiaLEvidence_Files.csv
- SHA-256:1 d89bbb739fc131 d09e29de852ab377ddebc13c0f9a329ac2832 2dae5de47f85

- SHA-1:   9de6cdcb998df1 d70e5177870bc5cf58746d46da

- MD5:     0771905c26adaaf582026bf93ba6cc7c

0033. App_Usage_Sessions      intervals_.csv
- SHA-256: c8e1 da3e63cb7cf05a21 C33c4053034a285ac3f80788de5fbb7 17e400d386482

- SHA-1:   90306a436aa8699cb90ca9fe66fa4c2cafb09092

- MD5:     be6eba0194f3a56a15279b524d912f42

0034. Identifiers.   Feature Flags from JSON.csv
- SHA-256: 0d3d18a1129b0f757e324f91 aOI 7617c0d679970b8fbe00dc20 a9559addc577b

- SHA-1:   7d535ab3de2e6b1656da5d9ccc6db5665d7b931 c

-MD5:      1474e4337504c6c4bd786a0ddf4c60b4


0035. Consolidated_Forensic_Timeline.csv
- SHA-256: c911 e8914e91 c3b87bb2b369ccb8ac4b8d3dccc60bb85673224 15e5c5c9692b8

- SHA-1:   d5f0e9cb7363faaf912a21 eb962d080762b19f52

- MD5:     605a6f19ef8de718db65ef24eb61786e

0036. PotentiaLMessaging_Tables.csv
- SHA-256: bd85bcdb8d4e613a79cb62d0903946ad10c83e63dc75f67614c15 9c0dbf4d184
- SHA-1:   20b40ff2624a56b681 d03737e2cfea7ed545726b

- MD5:     a227d42afbcc590b4e949075cde4a5b6

0037. Facebook-Related_Plist_Files.csv
- SHA-256: e6a8e7c010dddcf914213aeff0f56f81 e5064ac249edbbc473e9 36f14b720282

- SHA-1:   f0356b6ed167764d2d04785c76096fd1431 db69c
- MD5:     b9eff152d8fa5bdb16833ba58b0e2c12

0038. Parsed_Tokens_andJdentifiers.csv
- SHA-256: f7906bb403c8050601 a665ee976c37de5241 b742ea9e5a1 ecf366843117a7f95
- SHA-1:   64f424f 1 b215e8c1779cc7cd0e20eac370de1 b30
- MD5:     dda3ca930ed373e7f68750f8d2b68ba0

0039. FINAL_INSTAGRAM_META_FORENSIC_REPORT.pdf



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                                          INSTAGRAM_SURV-0011
- SHA-256: 416c1297621 ca80308f2d74fedclf3d233e28251419591475f5e e809f03c9b4d0
- SHA-1;   36c1 fSdSbOl Ofl 4cd054d4d485e30220206ba999

-MD5:      C8fb063a18f13795830e5a269bcf267c


0040. lNSTAGRAM_META_EVlDENCE_BUNDLE.zip
- SHA-256: 8ee9d331b4e213f245f43d412a46e55cc0817233aa82fd6aef9c2 c93d2275b6f

- SHA-1:   0d1b3036ad50beaf3b0d2bd3405685b74f9c7279

- MD5:     03e11506baaa22cdbf77502414d66fb1


0041. INSTAGRAM_META_EVIDENCE_BUNDLE_ENCRYPTED.bin
- SHA-256; 1 dbbfl 4f88b6981340faec1349077f8d3b53f9857e7f869ccde c284b2cacf15e

- SHA-1:   7371453c39667b06af683ed85e9ece8308067074
- MD5;     e01ffa5310cb52435ba4ef79a0887461


0042. EVlDENCE_DECRYPTION_KEY.t)ct
- SHA-256: c9baf9f7315f3ff262e736fff17ecfeb1 b951 aaa61444f11959 f8c63ce2a646a

- SHA-1:   961633c05d200c1e21d89950b82a861d5910d2b1

- MD5:     ddd44418c132b2292229aa81bSaeacI3


0043. Cl 5C460D-B51E-4BOO-B6DB-F43194189C54.jpeg
- SHA-256; f89c53e1 ae3f7afa052fb35e9e008bbd923f7cfd09f3c42aa057 4ce4564e9438

- SHA-1:   8df9a0e7e1 e5a02aa126f7b8a409e2f5885ac0b3

- MD5;     a1 d668d48f871 f83e1 ccdf254c53927e




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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA




                                  CERTIFICATE OF SERVICE




    I, Hiran Rodriguez, hereby certify that on April 22, 2025, I personally submitted a physical

    copy of the document entitled:




    EXHIBIT INSTAGRAM - SURV - 0011



    Declaration in Support of FRE 901 and FRE 1001-1003




    ...to the Clerk of Court for the United States District Court for the Eastern District of

    Louisiana, located at:




    500 Poydras Street, Room C-151


    New Orleans, Louisiana 70130




    This document was delivered in person and placed on the record for consideration in this
    matter.



    Executed on April 22, 2025.




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    /s/ HIRAN RODRIGUEZ

    HIRAN RODRIGUEZ

    SUIJURIS

    Pro Se Plaintiff

    820 Grove Avenue


    Metairie, Louisiana 70003

    (504) 203-8459

    hiranrodriguez@outlook.com

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            V




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